     Case 2:85-cv-04544-DMG-AGR Document 1105-1 Filed 04/09/21 Page 1 of 2 Page ID
                                     #:42964



1     BRIAN BOYNTON
      Acting Assistant Attorney General
2     Civil Division
3     WILLIAM C. PEACHEY
      Director, District Court Section
4
      Office of Immigration Litigation
5     WILLIAM C. SILVIS
6
      Assistant Director, District Court Section
      Office of Immigration Litigation
7     SARAH B. FABIAN
8     NICOLE N. MURLEY
      Senior Litigation Counsel, District Court Section
9     Office of Immigration Litigation
10          P.O. Box 868, Ben Franklin Station
            Washington, D.C. 20044
11
            Tel: (202) 532-4824
12          Fax: (202) 305-7000
13          Email: sarah.b.fabian@usdoj.gov
14    Attorneys for Defendants
15
                        UNITED STATES DISTRICT COURT
16
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
18
       JENNY LISETTE FLORES; et al.,            Case No. CV 85-4544-DMG
19
                                                [Proposed]
20             Plaintiffs,
                                                ORDER ON APPLICATION TO
21
                    v.                          SEAL
22
       MERRICK GARLAND, Attorney
23                                              [Hon. Dolly M. Gee]
       General of the United States; et al.,
24
25             Defendants.
26
27
28
     Case 2:85-cv-04544-DMG-AGR Document 1105-1 Filed 04/09/21 Page 2 of 2 Page ID
                                     #:42965



1             THIS CAUSE comes before the Court upon Defendants’ Application for

2     Leave to File Under Seal Portions of Juvenile Coordinator Reports.
3
              UPON CONSIDERATION of the Application, and for the reasons set forth
4
5     therein, the Court hereby ORDERS that the following documents are filed under
6
      seal:
7
8               • Exhibit A to the Juvenile Coordinator Report of Deane Dougherty
9                  (portions)
10              • Juvenile Coordinator Report of Aurora Miranda-Maese (portions)
11
12
      IT IS SO ORDERED.

13
      DATED: _____________, 2021.
14
15
                                           THE HONORABLE DOLLY M. GEE
16
                                           UNITED STATES DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
27
28

                                         -1-
